                        Case 4:14-cr-00250-JM                Document 158              Filed 01/05/17          Page 1 of 7
                                                                                                                       FILED
AO 245B (Rev. 11116)   Judgment in a Criminal Case                                                                  US. Di STRICT COURT
                       Sheet 1                                                                                  EASTERN DISTRICT ARKANSAS



                                                                                                                                               RK

                                                                          )
             UNITED STATES OF AMERICA                                     )
                                  v.                                      )
                                                                          )
                       TONIQUE HATTON                                             Case Number: 4:14cr00250-02 JM
                                                                          )
                                                                          )       USM Number: 28917-009
                                                                          )
                                                                          )
                                                                          )       Defendant's Attorney
THE DEFENDANT:
!ill pleaded guilty to count(s)        1 and 59 of the Second Superseding Indictment
D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                        Offense Ended

 18 USC§ 1349                      Conspiracy to Commit Wire Fraud                                           8/31/2014                   1
 18 USC § 666(a)(B)                Receipt of a Bribe by an Agent of a State Agency                          8/31/2014                   59

                                   Receiving Federal Funds

       The defendant is sentenced as provided in pages 2 through         __7_ _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
!ill Count(s) Indictment, Superseding Ind. ando is                !ill are dismissed on the motion of the United States.
             Counts 48-58ss, 60-75 ss
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defendant must notify the court and United States attorney of material clianges in econonnc circumstances.

                                                                          1/4/2017




                                                                          DISTRICT JUDGE JAMES M. MOODY JR.
                                                                         Name and Title of Judge




                                                                         Date           \      l
                        Case 4:14-cr-00250-JM               Document 158           Filed 01/05/17          Page 2 of 7
AO 245B (Rev. 11/16) Judgment in Criminal Case
                     Sheet 2 - hnprisonment

                                                                                                     Judgment -          2_ of
                                                                                                                  Page _ _       7
 DEFENDANT: TONIQUE HATTON
 CASE NUMBER: 4:14cr00250-02 JM

                                                            IMPRISONMENT
            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:

108 MONTHS on each count to run concurrently




     liZl' The court makes the following recommendations to the Bureau of Prisons:
1) The Court recommends the defendant receive mental health counseling and vocational programs during incarceration

2) The Court recommends the residential substance abuse program (RDAP)


     D The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
            D   at                                 D a.m.      D p.m.      on

            D as notified by the United States Marshal.

     ~ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            ~ before 2 p.m. on         4/20/2017

            D   as notified by the United States Marshal.

            D as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
I have executed this judgment as follows:




            Defendant delivered on                                                     to

 a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                          By
                                                                                              DEPUTY UNITED STATES MARSHAL
                       Case 4:14-cr-00250-JM             Document 158            Filed 01/05/17          Page 3 of 7
AO 245B (Rev. 11/16) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                                      3_ of
                                                                                                      Judgment-Page _ _                 7
DEFENDANT: TONIQUE HATTON
CASE NUMBER: 4:14cr00250-02 JM
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:      TWO (2) YEARS on each Count
to run concurrently

                                                    MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             D The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check if applicable)
4.    D You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.    D You must participate in an approved program for domestic violence. (check ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                       Case 4:14-cr-00250-JM                 Document 158             Filed 01/05/17          Page 4 of 7
AO 2458 (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                                  Judgment-Page _ _ _ _ _ of _ _ _ _ __
DEFENDANT: TONIQUE HATTON
CASE NUMBER: 4:14cr00250-02 JM

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least I 0 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least I 0 days before the change. If notifying the probation officer at least I 0
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
I 0.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.    You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
13.    You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                       Date   -----------~
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AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 3B - Supervised Release
                                                                                              Judgment-Page _____5__ of       7
DEFENDANT: TONIQUE HATTON
CASE NUMBER: 4:14cr00250-02 JM

                                     ADDITIONAL SUPERVISED RELEASE TERMS
 14) The defendant will disclose business and personal information including all assets (including unexpected financial
 gains) and liabilities to the probation office. The defendant will not transfer, sell, give away, or otherwise convey any asset
 without approval from the probation office.

 15) The defendant will not make application for any loan or enter into any credit arrangement without approval from the
 probation office unless all criminal penalties have been satisfied.

 16) 12 U.S.C. § 1785 and 1829, the defendant shall not obtain employment in an institution insured by the FDIC or Federal
 Credit Union.

 17) The defendant will participate in a mental health program under the guidance and supervision of the probation office.
 The defendant will pay the cost of treatment at a rate of $10 per session, with the total cost not to exceed $40 per month,
 based on ability to pay as determined by the probation office. In the event the defendant is financially unable to pay for the
 cost of treatment, the co-pay requirement will be waived.

 18) The defendant will participate under the guidance and supervision of the probation office in a substance abuse
 treatment program which may include drug and alcohol testing, counseling, and residential treatment. The defendant will
 abstain from the use of alcohol during supervision. The defendant will pay for the cost of treatment at the rate of $10 per
 session, with the total cost not to exceed $40 per month, based on ability to pay as determined by the probation office. In
 the event the defendant is financially unable to pay for the cost of treatment, the co-pay requirement will be waived
AO 245B (Rev. 11/16)
                        Case 4:14-cr-00250-JM
                       Judgment in a Criminal Case
                                                               Document 158                     Filed 01/05/17       Page 6 of 7
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                             Judgment - Page    6    of       7
 DEFENDANT: TONIQUE HATTON
 CASE NUMBER: 4:14cr00250-02 JM
                                               CRIMINAL MONETARY PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                 JVTA Assessment*                       Fine                      Restitution
 TOTALS              $ 200.00                   $ 0.00                                 $ 0.00                    $ 7,632,871.77


 D The determination of restitution is deferred until - - - - • An Amended Judgment in a Criminal Case (AO 245C) will be entered
        after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
        If the defendant makes a partial payment, each payee shall receive an approximately proportioned pa)'Dlent, unless specified otherwise in
        the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
        before the United States is paid.

  Name of Payee                                                                     Total Loss**       Restitution Ordered Priority or Percentage
       USDA/FNS, lock box 9027                                                       $7 ,632,871. 77        $7 ,632,871. 77

       P.O. Box 979027, St. Louis, MO 63197-9000




 TOTALS                                                                       $        7,632,871. 77 $_ _~7·~63=2~,8~7~1~.7~7


 D       Restitution amount ordered pursuant to plea agreement $

 D       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 It]     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         It] the interest requirement is waived for the        D       fine       It] restitution.
         D the interest requirement for the         D fine         0     restitution is modified as follows:

 *Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
 **Findings for the total amount oflosses are required under Chapters 109A, 110, l IOA, and l 13A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
AO 245B (Rev. 11/16)    Case 4:14-cr-00250-JM
                       Judgment  in a Criminal Case           Document 158             Filed 01/05/17           Page 7 of 7
                       Sheet 6 - Schedule of Payments

                                                                                                           Judgment - Page -~7- of                 7
DEFENDANT: TONIQUE HATTON
CASE NUMBER: 4:14cr00250-02 JM

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A      ~    Lump sum payment of$         200.00
                                        - - - - - - - due immediately, balance due

            D     not later than                                   , or
            D     in accordance with D C,          D D,       D     E,or      D Fbelow; or
B     D Payment to begin immediately (may be combined with                 D C,        D D, or      D F below); or

 C    D Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                             over a period of
           _ _ _ _ _ (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     D     Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                          over a period of
           _ _ _ _ _ (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E     D     Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     ~     Special instructions regarding the payment of criminal monetary penalties:

             Restitution is due immediately, and any unpaid balance will be payable during incarceration.
             During incarceration, the defendant will pay 50 percent per month of all funds that are available
             to her. During residential re-entry placement, payments will be 10 percent of the defendant's
             gross monthly income. Beginning the first month of supervised release, payments will be 10
             percent per month of the defendant's monthly gross income.
Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 ~    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
       Restitution will be joint and several with any other person who has been or will be convicted on an offense for which
       restitution to the same victim on the same loss is ordered. Specifically, this case and case number 4:16cr00010 JM.



 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest1 (4) fine principal, (5) fine
interest, (6) commumtyrestitution, (7) JVTA assessment, (8) penaities, and (9) costs, mcluding cost of prosecution and court costs.
